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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
     Telecopier:(916) 498-5710
5
     Attorney for Petitioner
6    HOLLISTER GEORGE
7
8                        IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   HOLLISTER GEORGE,               )     1:08 CV 132 AWI MJS
                                     )
12                  Petitioner,      )     STIPULATION AND [PROPOSED] ORDER
                                     )     RE: CONDITIONS OF RELEASE
13        v.                         )
                                     )
14   W.J. SULLIVAN,                  )     Honorable ANTHONY W. ISHII
                                     )
15                  Respondent.      )
                                     )
16   _______________________________ )
17        Petitioner, HOLLISTER GEORGE, filed a Petition for Writ of Habeas
18   Corpus challenging the Board of Parole Hearings’ 2007 decision finding
19   him unsuitable for parole, which this Court granted.         Respondent
20   appealed.   Mr. George subsequently moved, under Rule 23(c), Federal
21   Rules of Appellate Procedure, for his immediate release pending the
22   outcome of the appeal.    On September 13, 2010, this Court granted the
23   motion and ordered Mr. George released from prison within fifteen days.
24   The Court set a hearing at 1:30 p.m. on Monday, September 27, 2010, to
25   determine what conditions, if any, shall be imposed on Mr. George's
26   release in the event the parties were unable to stipulate to conditions
27   of release.
28   / / /
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1            The parties have agreed to the following conditions of release:
2    1.      You shall report to and comply with the rules and regulations of
3    the Pretrial Services Agency;
4    2.      You shall report in person to the Pretrial Services Agency on the
5    first working day following your release from custody;
6    3.      You are to reside at a location approved by the pretrial services
7    officer and not move or absent yourself from this residence for more
8    than 24 hours without the prior approval of the pretrial services
9    officer;
10   4.      Your travel is restricted to the district of residence which may
11   be in either the Eastern or Central Districts of California and you
12   shall not travel outside the district of residence, unless otherwise
13   approved in advance by the Pretrial Services Officer;
14   5.      You shall not possess a firearm/ammunition, destructive device, or
15   other dangerous weapon;
16   6.      You shall refrain from any use of alcohol or any narcotic drug or
17   other controlled substance without a prescription by a licensed medical
18   practitioner; and you shall notify Pretrial Services immediately of any
19   prescribed medication(s).                         However, medical marijuana, prescribed or
20   not, may not be used;
21   7.      You shall submit to drug or alcohol testing as directed by the
22   pretrial services officer;
23   8.      You shall obtain no passport during the pendency of this case;
24   9.      You shall not associate or have any contact with known gang
25   members;
26   10.     You shall report any contact with law enforcement to your pretrial
27   services officer within 24 hours; and,
28   11.     You shall participate in the home confinement program at the


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1    discretion of the Pretrial Services Officer and may be subject to
2    either electronic monitoring (RF) or remote location monitoring (GPS).
3    You shall abide by all the rules and requirements of the home
4    confinement program as directed by Pretrial Services.
5
6                                                         Respectfully submitted,
7                                                         DANIEL J. BRODERICK
                                                          Federal Defender
8
9    DATED:        September 23, 2010                      /s/ David M. Porter
                                                          DAVID M. PORTER
10                                                        Assistant Federal Defender
                                                          Attorney for Petitioner
11                                                        HOLLISTER GEORGE
12
                                                          EDMUND G. BROWN, Jr.
13                                                        Attorney General
14   DATED:        September 23, 2010                      /s/ Kasey E. Jones
                                                          KASEY E. JONES
15                                                        Deputy Attorney General
                                                          Attorney for Respondent
16                                                        W.J. SULLIVAN
17
18
19           IT IS SO ORDERED.                 Mr. George shall be released on September 28,
20   2010.
21           The hearing set for September 27, 2010 is VACATED.
22   IT IS SO ORDERED.
23
     Dated:               September 24, 2010
24   0m8i78                                            CHIEF UNITED STATES DISTRICT JUDGE
25
26
27
28


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